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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1935V
                                          UNPUBLISHED


    JAMES PHILLIPS,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 28, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On December 13, 2017, James Phillips filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a
result of a flu vaccine he received on December 28, 2016. Petition at ¶¶1, 3-4. Petitioner
further alleges that his injury last for more than six months. Petition at 2. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

      On April 5, 2019, a ruling on entitlement was issued finding Petitioner entitled to
compensation for GBS. On August 28, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a total of $214,201.07,
representing $175,000.00 for Petitioner’s past and future pain and suffering, and
$39,201.07 which represents full satisfaction of a State of Tennessee Medicaid lien.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to
an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner the
following:

    (1) A lump sum payment of $175,000.00, in the form of a check payable to
        Petitioner, and

    (2) A lump sum payment of $39,201.07, representing compensation for satisfaction
        of the State of California Medicaid lien, payable jointly to Petitioner and to:

                             BlueCross BlueShield of Tennessee
                                    ATTN: Tammy Miller
                              1 Cameron Hill Circle, Suite 0008
                                Chattanooga, TN 37402-0008
                            Medicaid account number: M12003291

       Petitioner agreed to endorse this payment to BlueCross BlueShield of Tennessee.
These amounts represent compensation for all damages that would be available under §
15(a). The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


JAMES PHILLIPS,

                  Petitioner,                           No. 17-1935V
                                                        Chief Special Master Corcoran
 v.                                                     ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                  Respondent.


               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On April 4, 2019, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act. Thereafter, on April 5, 2019, the Court issued a Ruling on

Entitlement, finding that petitioner was entitled to vaccine compensation for his Guillain-Barré

syndrome (“GBS”) following receipt of an influenza vaccine on December 18, 2016.

I.       Compensation for Vaccine Injury-Related Items

      Based on the evidence of record, respondent proffers that petitioner should be awarded

$175,000.00 for his past and future pain and suffering. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a), with the

exception of the reimbursement of the Medicaid lien, below. Petitioner agrees.

         Respondent further proffers that petitioner should be awarded funds to satisfy a State of

Tennessee Medicaid lien in the amount of $39,201.07, which represents full satisfaction of any

right of subrogation, assignment, claim, lien, or cause of action the State of Tennessee may have

against any individual as a result of any Medicaid payments that the State of Tennessee has made

to or on behalf of James Phillips from the date of his eligibility for benefits through the date of
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judgment in this case as a result of her vaccine-related injury suffered on or about December 28,

2016, under Title XIX of the Social Security Act. Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner be made through

two lump sum payments as described below:

       (1)     The parties recommend that compensation provided to petitioner should be made
               through a lump sum payment of $175,000.00, in the form of a check payable to
               petitioner. 1 Petitioner agrees.

       (2)     A lump sum payment of $39,201.07, representing compensation for satisfaction
               of the State of California Medicaid lien, payable jointly to petitioner and to:

                              BlueCross BlueShield of Tennessee
                                    ATTN: Tammy Miller
                              1 Cameron Hill Circle, Suite 0008
                                 Chattanooga, TN 37402-0008
                             Medicaid account number: M12003291

Petitioner agrees to endorse this payment to BlueCross BlueShield of Tennessee.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                      Respectfully submitted,

                                                      ETHAN P. DAVIS
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      CATHARINE E. REEVES
                                                      Deputy Director
                                                      Torts Branch, Civil Division




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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.
                                                 2
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                                          HEATHER L. PEARLMAN
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          s/ Lisa A. Watts
                                          LISA A. WATTS
                                          Senior Trial Attorney
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                                          U.S. Department of Justice
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                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
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Dated: August 28, 2020




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